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                     EXHIBIT 1
              Case 1:15-cv-07433-LAP Document 1326-2 Filed 01/04/24 Page 2 of 3




From:                           jeffrey E. <jeevacation@gmail.com>
Sent:                            Monday, January 12, 2015 10:03 AM
To:                             Gmax



you can issue a reward to any of virginias friends acquaionts family that come forward and help prove her
allegations are false the strongest is the clinton dinner, and the new version in the virgin isalnds that stven
hawking partica-ted in an underage orgy



     please note
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From:                           Ross Gow<                               >
Sent:                           Tuesday, February 24, 2015 3:36 AM
To:                             G Max; Philip Barden
Subject:                        VR cried rape - prior case dismissed as prosecutors found her 'not credible'



Ghislaine

Some helpful leakage ...

In today's Daily Mail print edition and on web
www.dailymail .eo.uk/news/article-2965360/Prince-Andrew-s-sex-slave-accused-two-tcells-rape-three-years-
joined-Jeffrey-Epstein-s-harem. htm I

and
www .nydailynews.com/news/worJd/sex-slave-prince-andrew-accused-2-men-rape- I 998-article-1 .2125569
Mom told a detective "about her daughter's past drug abuse and also how many kids in Royal Palm Beach are
involved in drugs, witchcraft and animal sacrifice," according to a confidential repo1t by the Palm Beach
County Sheriff's Office.

best
Ross



Ross Gow
Managing Partner
ACUITY Reputation
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